Case No. 1:20-cr-00305-DDD     Document 396-1     filed 01/27/24   USDC Colorado        pg
                                      1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


              GOVERNMENT=S MOTION TO RESTRICT EXHIBITS


        This matter is before the Court on the Government’s Motion to Restrict ECF

 Nos. 394 and 395. Upon consideration and for good cause shown,

        IT IS ORDERED that said Document (ECF No. 394), the Brief in Support of

 Motion to Restrict Document (ECF No. 395), as well as any order revealing the

 contents of those documents, are hereby restricted until further order by the Court.

        IT IS ORDERED that said Document (Doc. 394), the Brief in Support of Motion

 to Restrict (Doc. 395), as well as any order revealing the contents of that document,

 pursuant to D.C.COLO.LCrR 47.1(b) are hereby at a “Level 2 Restriction” and will be

 “Viewable by Selected Parties & Court” only.

        IT IS SO ORDERED on this         day of ________________, 2023.



                                          1
Case No. 1:20-cr-00305-DDD     Document 396-1       filed 01/27/24   USDC Colorado     pg
                                      2 of 3




                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
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 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Sarah H. Weiss
                                                       Sarah H. Weiss

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case its granting would
 necessarily involve the court making the necessary findings of fact to exclude time
 and denial will keep the case on track to be tried on February 5, 2024, within the
 calculated speedy trial deadline.




                                           2
Case No. 1:20-cr-00305-DDD      Document 396-1      filed 01/27/24   USDC Colorado      pg
                                       3 of 3




                            CERTIFICATE OF SERVICE


        I hereby certify that on January 26th, 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to any and all counsel of record.


                                         s/ Sarah H. Weiss
                                         United States Attorney’s Office
                                         Assistant U.S. Attorney




                                            3
